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 7
                              UNITED STATES DISTRICT COURT
 8
                             CENTRAL DISTRICT OF CALIFORNIA
 9
                                   WESTERN DIVISION
10
11
     MARIA E. HANAN,                         )   Case No.: CV 20-04742-SK
12                                           )
                Plaintiff,
13         v.                                )   [PROPOSED] ORDER
                                             )   AWARDING EAJA FEES
14                                           )
     ANDREW M. SAUL,
15   Commissioner of Social Security,        )   STEVE KIM
                                             )   UNITED STATES MAGISTRATE
16
                Defendant.                   )   JUDGE
17                                           )
18
19         Based upon the parties’ Stipulation for Award of EAJA Fees (“Stipulation”),
20   IT IS ORDERED that attorney’s fees under the Equal Access to Justice Act
21   (“EAJA”) are awarded in the amount of SIX THOUSAND EIGHT HUNDRED
22   TWENTY DOLLERS ($6,820.00) (the “AGREED AMOUNT”) as authorized by
23   28 U.S.C. § 2412(d), and subject to the terms and conditions of the Stipulation.
24            9/22/2021
     DATED: ______________________
25
                                           __________________________________
26
                                           STEVE KIM
27                                         UNITED STATES MAGISTRATE JUDGE
28
